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William E.. 'l`hornson, ]r.

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

CASE NUMBER
ATEN International Co., Ltd
2:15-cv-04424-AG-A]W
Plaintiff(s)

 

Uniclass Technology Co. MEDIATION REPORT

Defendant(s).

 

 

Instrnctions: The mediator must file this Report within 5 days after the conclusion of a mediation
session even ifthe negotiations continue. Ifthe case later settles with the assistance of the mediator,
the mediator mast file a subsequent Report.

1. A mediation Was held on (date): 8 ]une 2016

l:l A mediation did not take place because the case settled before the session occurred

2. The individual parties and their respective trial counsel, designated corporate representatives, and/or
representatives of the party's insurer:

Appeared as required by Civil L.R. 16-15.5(b).

I:] Did not appear as required by Civil L.R. 16~15.5(b).
[:] Plaintiff or plaintiffs representative failed to appear.
[:l Defendant or defendant`s representative failed to appear.
[:l Otber:

3. Did the case settle?
l:l Yes, fullv, on (date).
l:l Yes, partially, and further facilitated discussions are expected (See No. 4 below.)
l:l Yesj partially, and further facilitated discussions are not expected
m No, and further facilitated discussions are expected (See No. 4 below.)
No, and further facilitated discussions are not expected

4. If further facilitated discussions are expected by What date Will you check in With the parties?

   
 

Dated: 4 August 2016

/:"'¢(‘.....'.;-:”-;
Signatu

William E. Thomson, ]r
Name of Mediator {print)

    

 

The Mediator is to electronically file original document

 

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